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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


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 UNITED STATES OF AMERICA
                                                                    No. 1:20-CR-00278-TNM
                                    Plaintiff,

               v.

 KEITH BERMAN,

                                    Defendant.

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                DEFENDANT’ MOTION TO FILE REPLY TO GOVERNMENT’S
                  OPPOSITION TO DEFENSE MOTION FOR DISCOVERY


        Defendant Keith Berman, through undersigned counsel, respectfully submits this motion

for leave to file the above-captioned document under seal, pursuant to Local Rule 6.1 because the

Defendant’s Reply to the Government’s Opposition is “in connection with a grand jury subpoena.”


                                                           Respectfully submitted,


                                                           /s/ Walter P. Loughlin
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